819 F.2d 913
    William H. GILARDY, Jr., Special Administrator of the Estateof David Lee Thompson;  Frank W. Thompson;  DorieThompson;  and Kim M. Thompson,Plaintiffs-Appellants,v.UNITED STATES of America, Defendant-Appellee.
    No. 84-2269.
    United States Court of Appeals,Ninth Circuit.
    June 15, 1987.
    
      Luce, Forward, Hamilton &amp; Scrip and Donald L. Salem, San Diego, Cal., for plaintiffs-appellants.
      Richard K. Willard, Acting Asst. Atty. Gen., Honolulu, Hawaii, Phillip A. Berns, Atty., and Warren A. Schneider, Trial Atty., San Francisco, Cal., for defendant-appellee.
      Before BROWNING, Chief Judge, SNEED, HUG, TANG, SKOPIL, SCHROEDER, FARRIS, NELSON, NORRIS, BEEZER, and NOONAN, Circuit Judges.
    
    
      1
      Prior report:  9th Cir., 787 F.2d 469.
    
    ORDER
    
      2
      In light of the Supreme Court's decision in United States v. Johnson, --- U.S. ----, 107 S.Ct. 2063, 95 L.Ed.2d 648 (1987), the en banc panel assignment is withdrawn.  The case is returned to its original three-judge panel for disposition.
    
    